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                              NOT FOR PUBLICATION                          FILED
                     UNITED STATES COURT OF APPEALS                        MAY 20 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

STATE OF OREGON,                                  No. 24-161
                                                  D.C. No.
              Petitioner,                         6:23-cr-330
 v.
                                                  MEMORANDUM*
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON,
EUGENE,

              Respondent,

SAMUEL TROY LANDIS,

              Real Party in Interest.

                              Petition for Writ of Mandamus

                            Argued and Submitted May 7, 2024
                                   Seattle, Washington

Before: McKEOWN, BEA, and OWENS, Circuit Judges.

      The State of Oregon petitions for a writ of mandamus directing the federal

district court to remand this state criminal prosecution to state court under the All

Writs Act, 28 U.S.C. § 1651. The State charged a federal Special Agent employed


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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by the Drug Enforcement Administration (“DEA”), Samuel Landis (“Defendant”),

for criminally negligent homicide after a deadly collision between Defendant’s

vehicle and a cyclist. The collision occurred after Defendant ran a stop sign while

conducting a surveillance operation with the DEA. After an evidentiary hearing

before the federal district court, the court granted Defendant’s motion to remove the

prosecution to federal court under the federal officer removal statute, 28 U.S.C.

§ 1442(a)(1). We have authority to entertain a writ of mandamus under 28 U.S.C.

§ 1651, see United States v. Harper, 729 F.2d 1216, 1221 (9th Cir. 1984), and we

deny the petition.

      A “clear error of law[] is almost always a necessary predicate” to grant the

“extraordinary remedy” of a writ of mandamus. In re U.S. Dep’t of Educ., 25 F.4th

692, 697–98 (9th Cir. 2022). The district court did not clearly err when it determined

Defendant established a “colorable” federal defense. See DeFiore v. SOC LLC, 85

F.4th 546, 559–60 (9th Cir. 2023) (defining a “colorable” federal defense as one that

is not “immaterial and made solely for the purpose of obtaining jurisdiction or . . .

wholly insubstantial and frivolous” (alteration in original) (quoting Bell v. Hood,

327 U.S. 678, 682–83 (1946))). Supremacy Clause immunity is a federal defense

that immunizes an officer from state criminal prosecution for acts (1) within the

scope of the federal officer’s authority (2) that are “necessary and proper.” Clifton

v. Cox, 549 F.2d 722, 725 (9th Cir. 1977). The State of Oregon does not dispute that



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Defendant had the authority to drive his government-issued vehicle as part of the

DEA operation when the collision occurred, or to violate traffic laws in certain

circumstances. The disputed issue is whether Defendant’s act of running the stop

sign was “necessary and proper.” An act is “necessary and proper” if it is both

subjectively and objectively reasonable under the circumstances. See id. at 728–29.

      Record evidence supports that Defendant’s federal Supremacy Clause

immunity defense is colorable.      Grand Jury testimony confirmed that officers

sometimes violate traffic laws during surveillance operations and that at least one

other officer who was part of the DEA operation during which the collision occurred

violated traffic laws to execute his duties effectively. Defendant also testified that

he was trying to catch up to his team and was driving with that purpose when the

collision occurred. And there is no evidence Defendant was deviating from the

surveillance operation when he ran the stop sign. Because evidence supports that

Defendant’s actions may have been objectively reasonable under the circumstances,

the district court did not clearly err when it concluded Defendant had satisfied his

burden of showing that he has a colorable federal defense. Thus, Defendant is

entitled to have his case prosecuted in federal court.

      PETITION DENIED.




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